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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND
                               (Northern Division)
_______________________________________
                                        )
DAVID J. BOSHEA                         )
                                        )
      Plaintiff,                        ) C.A. No. 1:21-CV-00309-ELH
                                        )
v.                                      )
                                        )
COMPASS MARKETING, INC.                 )
                                        )
      Defendant.                        )
_______________________________________)


                        NOTICE AND ENTRY OF APPEARANCE

       Please enter the appearance of Brian A. Tollefson and the law firm of Tollefson IP on

behalf of Defendant Compass Marketing, Inc., in the above-captioned matter.



 Dated: March 2, 2022                           Respectfully Submitted,



                                                /s/Brian A. Tollefson        _____
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